The commissioner improperly concluded that the plaintiff's heart attack was a compensable injury. His finding that the plaintiff's attendance at a local social or political testimonial for a former town official arose "out of and in the course of his employment" by the defendant as a state trooper assigned to the town of Old Lyme because it lacked an organized police force is an unwarranted and improper application of the Workers' Compensation Act.
Under the provisions of General Statutes 29-5, "[t]he commissioner of public safety shall exercise such supervision and direction over any resident policeman so appointed as he deems necessary, and each appointee shall be required to conform to the requirements of chapter 67 [State Personnel Act]. Each resident state policeman shall have the same powers as officers of the regular police force and be entitled to the same rights and subject to the same rules and regulations as the division of state police within the department of public safety." The hours of work of a state policeman are *Page 412 
limited by law. No state policeman shall be required to be on active duty for more than five days a week, except in case of emergency, and the workweek, including home-to-duty station and duty station-to-home time shall not exceed an eight-week average of forty hours per week. General Statutes 5-246. Social functions are not within the framework of the state police workweek.
The compensation award of the commissioner to the plaintiff is an act of benevolence unwarranted by the law.
For these reasons, I dissent from the majority opinion and would find error in the finding and award of the compensation review division.